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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 LEAGUE OF UNITED LATIN
 AMERICAN CITIZENS, et al.,

         Plaintiffs,

                 v.                              Case No. 1:25-cv-00946

 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

         Defendants.


 ANSWER TO PLAINTIFFS’ COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                             RELIEF

       Defendants the Executive Office of the President, the United States Election Assistance

Commission, Executive Director Brianna Schletz, Chairman Donald L. Palmer, Commissioner

Thomas Hicks, Commissioner Christy McCormick, Commissioner Benjamin W. Hovland, the

United States Department of Justice, Attorney General Pamela Bondi, the United States

Department of Defense, Secretary Pete Hegseth, the Federal Voting Assistance Program, and

Director J. Scott Wiedmann, by and through their attorneys, answer Plaintiffs’ Complaint For

Declaratory and Injunctive Relief, ECF No. 1, as follows:

       1.      The first, second, fourth, fifth, and sixth sentences of this paragraph are legal

conclusions, which require no response. The third sentence constitutes a general characterization

of this action, which also requires no response, except Defendants admit that Executive Order is

so titled and was issued on that date.

       2.      The first, second, and third sentences of this paragraph consist of legal conclusions,

to which no response is required.

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       3.      This sentence constitutes Plaintiffs’ general characterization of this action and a

legal conclusion both of which require no response.

       4.      This paragraph consists of legal conclusions, to which no response is required.

       5.      This paragraph consists of a legal conclusion, to which no response is required.

       6.      This paragraph consists of a legal conclusion, to which no response is required.

       7.      Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       8.      Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       9.      Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       10.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       11.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       12.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       13.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       14.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       15.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.



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       16.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       17.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       18.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       19.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       20.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       21.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph. The fourth sentence contains citations to the NVRA, to which

Defendants refer for its complete and accurate contents.

       22.     Admitted.

       23.     This paragraph consists of legal conclusions, to which no response is required.

       24.     Admitted.

       25.     Admitted.

       26.     Admitted.

       27.     Admitted.

       28.     Admitted.

       29.     Admitted.

       30.     Admitted.

       31.     Admitted.



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       32.     Admitted.

       33.     This paragraph consists of legal conclusions, to which no response is required.

       34.     Admitted.

       35.     Admitted.

       36.     This paragraph consists of a legal conclusion to which no response is required.

       37.     This paragraph consists of citations to the Executive Order, to which Defendants

refer for its complete and accurate contents.

       38.     This paragraph consists of citations to the Executive Order, to which Defendants

refer for its complete and accurate contents.

       39.     This paragraph consists of citations to the Executive Order, to which Defendants

refer for its complete and accurate contents.

       40.     This paragraph refers to the Executive Order, to which Defendants refer for its

complete and accurate contents.

       41.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       42.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       43.     Admitted.

       44.     This paragraph refers to the Executive Order, to which Defendants refer for its

complete and accurate contents. It also consists of a legal conclusion, which requires no response.

       45.     This paragraph consists of legal conclusions, to which no response is required.

       46.     This paragraph contains citations to the Executive Order and UOCAVA, to which

Defendants refer for their complete and accurate contents. It also consists of a legal conclusion,



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which requires no response.

       47.     The first sentence of this paragraph is a legal conclusion, which requires no

response. This paragraph contains citations to UOCAVA, to which Defendants refer for its

complete and accurate contents.

       48.     This paragraph contains citations to the Executive Order, to which Defendants refer

for its complete and accurate contents. It also consists of a legal conclusion, which requires no

response.

       49.     This paragraph contains citations to the Executive Order, to which Defendants refer

for its complete and accurate contents. It also consists of a legal conclusion, which requires no

response.

       50.     This paragraph contains citations to the Executive Order, to which Defendants refer

for its complete and accurate contents.

       51.     This paragraph consists of a legal conclusion, which requires no response.

       52.     This paragraph contains citations to the Executive Order, to which Defendants refer

for its complete and accurate contents. It also consists of a legal conclusion, which requires no

response.

       53.     This paragraph consists of legal conclusions, which require no response.

       54.     This paragraph consists of legal conclusions, which require no response.

       55.     This paragraph consists of citations to the U.S. Constitution, to which Defendants

refer for its complete and accurate contents.

       56.     This paragraph consists of citations to the U.S. Constitution and a Supreme Court

case, to which Defendants refer for their complete and accurate contents.

       57.     This paragraph consists of a citation to a Supreme Court case, to which Defendants



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refer for its complete and accurate contents.

       58.     This paragraph consists of citations to the U.S. Constitution and Federalist No. 60,

to which Defendants refer for their complete and accurate contents.

       59.     This paragraph consists of citations to the Federalist Papers, to which Defendants

refer for their complete and accurate contents.

       60.     This paragraph consists of citations to the HAVA, to which Defendants refer for its

complete and accurate contents.

       61.     This paragraph consists of citations to statutes, to which Defendants refer for their

complete and accurate contents.

       62.     This paragraph consists of a citation to a statute, to which Defendants refer for its

complete and accurate contents.

       63.     This paragraph consists of a citation to a statute, to which Defendants refer for its

complete and accurate contents.

       64.     This paragraph consists of legal conclusions, to which no response is required.

       65.     This paragraph consists of citations to statutes, to which Defendants refer for their

complete and accurate contents.

       66.     This paragraph consists of a citation to a statute, to which Defendants refer for its

complete and accurate contents.

       67.     This paragraph consists of legal conclusions, to which no response is required.

       68.     This paragraph consists of citations to statutes, to which Defendants refer for their

complete and accurate contents.

       69.     This paragraph consists of citations to statutes, to which Defendants refer for their

complete and accurate contents.



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       70.     This paragraph consists of citations to the NVRA and a Supreme Court case, to

which Defendants refer for their complete and accurate contents.

       71.     This paragraph consists of a citation to the NVRA, to which Defendants refer for

its complete and accurate contents. Footnote 2 consists of citations to and characterizations of the

NVRA and HAVA to which Defendants refer for their complete and accurate contents.

       72.     This paragraph consists of citations to the NVRA, to which Defendants refer for its

complete and accurate contents.

       73.     This paragraph consists of citations to the NVRA, to which Defendants refer for its

complete and accurate contents.

       74.     This paragraph consists of a citation to the NVRA, to which Defendants refer for

its complete and accurate contents.

       75.     This paragraph consists of a citation to the NVRA, to which Defendants refer for

its complete and accurate contents.

       76.     This paragraph consists of a citation to the HAVA, to which Defendants refer for

its complete and accurate contents.

       77.     This paragraph characterizes federal regulations, including 11 CFR 9428.3, to

which Defendants refer for their complete and accurate contents.

       78.     This paragraph consists of citations to the NVRA, to which Defendants refer for its

complete and accurate contents.

       79.     This paragraph consists of citations to the NVRA and a Supreme Court opinion, to

which Defendants refer for its complete and accurate contents.

       80.     This paragraph consists of citations to legislative materials, to which Defendants

refer for their complete and accurate contents.



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       81.     This paragraph consists of citations to the Federal Register, to which Defendants

refer for their complete and accurate contents.

       82.     This paragraph consists of citations to federal regulations, to which Defendants

refer for their complete and accurate contents.

       83.     This paragraph consists of citations to a Supreme Court opinion, a Tenth Circuit

opinion, and the Federal Register, to which Defendants refer for their complete and accurate

contents.

       84.     This paragraph consists of a citation to the Executive Order, to which Defendants

refer for their complete and accurate contents.

       85.     This paragraph consists of a legal conclusion, to which no response is required.

       86.     This paragraph consists of legal conclusions, which require no response.

       87.     This paragraph consists of a citation to a statute, to which Defendants refer for its

complete and accurate contents.

       88.     This paragraph consists of citations to statutes and a Supreme Court opinion, to

which Defendants refer for their complete and accurate contents.

       89.     This paragraph consists of citations to federal regulations and statutes, to which

Defendants refer for their complete and accurate contents.

       90.     This paragraph consists of a citation to a Supreme Court opinion, to which

Defendants refer for its complete and accurate contents.

       91.     This paragraph consists of citations to federal statutes, to which Defendants refer

for their complete and accurate contents.

       92.     This paragraph consists of citations to various federal statutes to which Defendants

refer for their complete and accurate contents.



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       93.     This paragraph consists of a citation to a statute to which Defendants refer for its

complete and accurate contents.

       94.     This paragraph consists of citations to judicial decisions, to which Defendants refer

for their complete and accurate contents.

       95.     This paragraph consists of a citation to judicial decisions, to which Defendants refer

for its complete and accurate contents.

       96.     Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph. The second sentence cites to and characterizes judicial

decisions to which Defendants refer for their complete and accurate contents.

       97.     This paragraph consists of a citation to the APA, to which Defendants refer for its

complete and accurate contents.

       98.     This paragraph consists of legal conclusions, to which no response is required.

       99.     This paragraph consists of legal conclusions, to which no response is required.

       100.    This paragraph consists of a citation to a federal statute, to which Defendants refer

for its complete and accurate contents.

       101.    This paragraph consists of a legal conclusion that requires no response.

       102.    This paragraph consists of a legal conclusion that requires no response.

       103.    This paragraph consists of Plaintiffs’ characterizations of UOCAVA, to which

Defendants refer for its complete and accurate contents.

       104.    This paragraph consists of citations to UOCAVA and the code of federal

regulations, to which Defendants refer for their complete and accurate contents. Footnote 3

consists of a citation of the Federal Register to which Defendants refer for its complete and

accurate contents.



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       105.    This paragraph consists of a citation to UOCAVA, to which Defendants refer for

its complete and accurate contents.

       106.    This paragraph consists of citations to UOCAVA, to which Defendants refer for

their complete and accurate contents.

       107.    This paragraph consists of citations to the Executive Order, to which Defendants

refer for its complete and accurate contents.

       108.    This paragraph consists of Plaintiffs’ characterizations of and citations to

UOCAVA, to which Defendants refer for its complete and accurate contents. To the extent those

characterizations conflict with the statute’s text, Defendants deny them.

       109.    The first sentence of this paragraph consists of quotations from UOCAVA, to which

Defendants refer for its complete and accurate contents. The second and third sentences consist of

legal conclusions, which require no response.

       110.    This paragraph consists of Plaintiffs’ characterization of federal regulations and

statutes to which Defendants refer for their complete and accurate characterizations.

       111.    This paragraph consists of citations to the U.S. Constitution and legal authority, to

which Defendants refer for their complete and accurate contents, or legal conclusions, to which no

response is required.

       112.    This paragraph consists of legal conclusions, which require no response.

       113.    This paragraph consists of Plaintiffs’ characterization of 2 U.S.C. § 7 and 3 U.S.C.

§ 1 to which Defendants refer for their complete and accurate contents.

       114.    Defendants admit the first and third sentences but lack knowledge or information

sufficient to form a belief about the truth of the allegations in the second sentence.

       115.    This paragraph consists of characterizations of and citations to a Supreme Court



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case, a federal statute, and the Executive Order, to which Defendants refer for their complete and

accurate contents.

       116.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       117.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in the first sentence of this paragraph. The second and third sentences consist of

citations to and characterizations of UOCAVA to which Defendants refer for its complete and

accurate contents. The last sentence is a legal conclusion, which requires no response.

       118.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       119.    This paragraph consists of a legal conclusion, which requires no response.

       120.    This paragraph consists of a citation to and characterization of the Executive Order

to which Defendants refer for its complete and accurate contents.

       121.    This paragraph consists of legal conclusions, which require no response.

       122.    The first, second, and third sentences in this paragraph consist of citations to and

characterizations of a federal statute to which Defendants refer for its complete and accurate

contents. The fourth sentence is a legal conclusion, which requires no response.

       123.    This paragraph consists of legal conclusions, which require no response.

       124.    The first and second sentences of this paragraph consist of Plaintiffs’

characterizations of the Executive Order to which Defendants refer for its complete and accurate

contents. The third sentence is a legal conclusion, which requires no response.

       125.    This paragraph consists of Plaintiffs positing their own hypothetical. Defendants

lack knowledge or information sufficient to form a belief about the truth of the allegations in this



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paragraph.

       126.    This paragraph consists of citations to the Executive Order to which Defendants

refer for its complete and accurate contents.

       127.    This paragraph consists of a citation to and characterization of the Executive Order

to which Defendants refer for its complete and accurate contents.

       128.    This paragraph is a legal conclusion, which requires no response.

       129.    This paragraph consists of citations to HAVA, to which Defendants refer for its

complete and accurate contents.

       130.    This paragraph consists of a citation to HAVA, to which Defendants refer for its

complete and accurate contents.

       131.    This paragraph consists of a citation to and characterization of HAVA, to which

Defendants refer for its complete and accurate contents.

       132.    This paragraph consists of citations to and characterizations of various federal

statutes to which Defendants refer for their complete and accurate contents.

       133.    This paragraph consists of citations to and characterizations of various federal

statutes to which Defendants refer for their complete and accurate contents.

       134.    This paragraph consists of characterizations of various federal statutes, including

the Election Day statutes, and the Executive Order to which Defendants refer for their complete

and accurate contents. It also consists of a legal conclusion, which requires no response.

       135.    This paragraph consists of characterizations of various federal statutes and the

Executive Order to which Defendants refer for their complete and accurate contents. It also

consists of a legal conclusion, which requires no response.

       136.    Defendants lack knowledge or information sufficient to form a belief about the truth



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of the allegations in this paragraph.

       137.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       138.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph. The third sentence also consists of a legal conclusion, which

requires no response.

       139.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       140.    This paragraph consists of Plaintiffs’ characterization of the Executive Order, to

which Defendants refer for its complete and accurate contents. Defendants lack knowledge or

information sufficient to form a belief about the truth of the allegations in this paragraph.

       141.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       142.    The first and third sentences of this paragraph consist of Plaintiffs’ characterization

of the Executive Order to which Defendants refer for its complete and accurate contents. To the

extent, Plaintiffs’ characterizations conflict with the Executive Order’s text, Defendants deny

them. Defendants lack knowledge or information sufficient to form a belief about the truth of the

remaining allegations in this paragraph.

       143.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       144.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the remaining allegations in this paragraph.

       145.    Defendants lack knowledge or information sufficient to form a belief about the truth



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of the allegations in this paragraph.

       146.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       147.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       148.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       149.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       150.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       151.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       152.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in the first sentence of this paragraph. Defendants admit the second sentence.

The third sentence characterizes legislative materials to which Defendants refer for their complete

and accurate contents. Footnote 4 consists of citations to government documents to which

Defendants refer for their complete and accurate contents.

       153.    This paragraph consists of legal conclusions, which require no response.

       154.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       155.    The first sentence of this paragraph consists of a legal conclusion, which requires

no response, and characterizes the Executive Order to which Defendants refer for its complete and



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accurate content. Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in the second sentence of this paragraph.

       156.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       157.    The first sentence of this paragraph characterizes the Executive Order to which

Defendants refer for its complete and accurate contents. Defendants deny that all CACs and

Military Dependent IDs do not indicate citizenship status. The last sentence is a legal conclusion,

which requires no response.

       158.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       159.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       160.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       161.    This paragraph consists of a citation to the Executive Order to which Defendants

refer for its complete and accurate contents.

       162.    The first sentence of this paragraph consists of a characterization of the Executive

Order to which Defendants refer for its complete and accurate contents. Defendants lack

knowledge or information sufficient to form a belief about the truth of the remaining allegations

in this paragraph.

       163.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph, except as to the second sentence, which Defendants admit.

This paragraph also consists of legal conclusions, which require no response.



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       164.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph. This paragraph also consists of legal conclusions, which

require no response.

       165.    The first sentence of this paragraph consists of a characterization of the Executive

Order to which Defendants refer for its complete and accurate contents, and a legal conclusion,

which requires no response. Defendants lack knowledge or information sufficient to form a belief

about the truth of the remaining allegations in this paragraph.

       166.    This paragraph contains citations to and characterizations of the Executive Order

to which Defendants refer for its complete and accurate contents.

       167.    This paragraph contains citations to and characterizations of the Executive Order

to which Defendants refer for its complete and accurate contents. This paragraph also consists of

legal conclusions, which require no response.

       168.    This paragraph consists of legal conclusions, which require no response.

Defendants lack knowledge or information sufficient to form a belief about the truth of the

remaining allegations in this paragraph concerning whether SFI members use UOCAVA

processes.

       169.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       170.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       171.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       172.    Defendants lack knowledge or information sufficient to form a belief about the truth



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of the allegations in this paragraph.

       173.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       174.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       175.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       176.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       177.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph. This paragraph also characterizes the Executive Order to which

Defendants refer for its complete and accurate contents.

       178.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph. This paragraph also characterizes the Executive Order to which

Defendants refer for its complete and accurate contents.

       179.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph. This paragraph also characterizes the Executive Order to which

Defendants refer for its complete and accurate contents.

       180.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       181.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       182.    Defendants lack knowledge or information sufficient to form a belief about the truth



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of the allegations in this paragraph.

       183.    Defendants lack knowledge or information sufficient to form a belief about the truth

of the allegations in this paragraph.

       184.    This paragraph consists of a characterization of Plaintiffs’ complaint, which

requires no response.

       185.    This paragraph consists of citations to legal authorities to which Defendants refer

to for their complete and accurate contents.

       186.    This paragraph consists of a citation to legal authority, to which Defendants refer

to for its complete and accurate content, and a legal conclusion, to which no response is required.

       187.    This paragraph consists of citations to and characterizations of federal statutes to

which Defendants refer to for their complete and accurate contents.

       188.    This first sentence of this paragraph consists of a characterization of the Executive

Order to which Defendants refer for its complete and accurate contents. The second sentence is a

legal conclusion, which requires no response.

       189.    The first sentence of this paragraph consists of a characterization of Article II of

the U.S. Constitution to which Defendants refer for its complete and accurate contents. The second

sentence consists of a citation to legal authority to which Defendants also refer for its complete

and accurate contents. The third sentence is a legal conclusion, which requires no response.

       190.    The first and second sentences of this paragraph characterize the Elections and

Electors clauses of the U.S. Constitution to which Defendants refer for their complete and accurate

contents. The third sentence is a legal conclusion, which requires no response.

       191.    This paragraph consists of legal conclusions, to which no response is required.

       192.    This paragraph consists of legal conclusions, to which no response is required.



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       193.    This paragraph consists of a legal conclusion to the extent it asserts that the action

is ultra vires. As to whether Plaintiffs are or will be harmed, Defendants lack knowledge or

information sufficient to form a belief about the truth of that allegation.

       194.    This paragraph consists of a characterization of Plaintiffs’ complaint, which

requires no response.

       195.    This paragraph consists of a citation to and characterization of the Appropriations

Clause, to which Plaintiffs refer for its complete and accurate content.

       196.    This paragraph consists of citations to legal authorities and the U.S. Constitution to

which Defendants refer for their complete and accurate contents.

       197.    The first sentence of this paragraph consists of a citation to and characterization of

the Executive Order to which Defendants refer for its complete and accurate contents. The second

sentence of this paragraph is a legal conclusion, which requires no response.

       198.    The first sentence of this paragraph consists of a citation to and characterization of

the Executive Order to which Defendants refer for its complete and accurate contents. The second

sentence of this paragraph is a legal conclusion, which requires no response.

       199.    This paragraph consists of a legal conclusion, to which no response is required.

       200.    This paragraph consists of legal conclusions, to which no response is required.

       201.    This paragraph consists of a characterization of Plaintiffs’ complaint, which

requires no response.

       202.    This paragraph consists of citations to the U.S. Constitution’s Elections and

Electors Clauses to which Defendants refer for their complete and accurate contents.

       203.    This paragraph consists of a characterization of the Constitution—Defendants refer

to the Elections and Electors Clauses for their complete and accurate contents.



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       204.    This paragraph consists of a legal conclusion, to which no response is required.

       205.    The first sentence of this paragraph characterizes section 7(a) of the Executive

Order to which Defendants refer for its complete and accurate contents. The second sentence

consists of legal conclusions, to which no response is required.

       206.    This paragraph consists of legal conclusions, to which no response is required.

       207.    This paragraph consists of legal conclusions, to which no response is required.

Defendants also lack knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph.

       208.    This paragraph consists of a characterization of Plaintiffs’ complaint, which

requires no response.

       209.    The first and second sentences of this paragraph consist of legal conclusions to

which no response is required. The second sentence also cites and characterizes section 3(d) of the

Executive Order to which Defendants refer for its complete and accurate contents.

       210.    This paragraph characterizes UOCAVA to which Defendants refer for its complete

and accurate contents. Defendants deny any characterizations that are inconsistent with the text of

UOCAVA.

       211.    This paragraph consists of a legal conclusion, which requires no response.

       212.    This paragraph consists of a legal conclusion, which requires no response, to the

extent Plaintiffs characterize the Executive Order as ultra vires. Defendants lack knowledge or

information sufficient to form a belief about the truth of the remaining allegation.

       213.    This paragraph consists of a characterization of Plaintiffs’ complaint, which

requires no response.

       214.    This paragraph consists of citations to the Administrative Procedure Act to which



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Defendants refer for its complete and accurate contents.

        215.      This paragraph contains citations to and characterizations of a Supreme Court

opinion and the Administrative Procedure Act, to which Defendants refer for their complete and

accurate contents. Defendants deny any characterization inconsistent with the opinion or the text

of the statute.

        216.      This paragraph consists of a legal conclusion, which requires no response.

        217.      This paragraph consists of a legal conclusion, which requires no response.

        218.      This paragraph characterizes the APA, to which Defendants refer for its complete

and accurate contents.

        219.      The first sentence of this paragraph characterizes the statutes governing the EAC,

to which Defendants refer for their complete and accurate contents. The second sentence makes a

legal conclusion, which requires no response, and cites the NVRA, to which Defendants also refer

for its complete and accurate contents.

        220.      This paragraph consists of a legal conclusion, which does not require a response.

        221.      This paragraph consists of a legal conclusion, which does not require a response.

        222.      This paragraph consists of a characterization of Plaintiffs’ complaint, which

requires no response.

        223.      Defendants admit the first sentence. The second sentence characterizes UOCAVA

to which Defendants refer for its complete and accurate contents.

        224.      This paragraph characterizes the APA to which Defendants refer for its complete

and accurate contents. Defendants deny any characterization inconsistent with the APA’s text.

        225.      This paragraph consists of legal conclusions, which require not response.

        226.      This paragraph is a legal conclusion, which requires no response.



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       The remainder of the complaint contains Plaintiff’s prayer for relief, to which no response

is required. To the extent a response is deemed necessary, Defendants deny that Plaintiff is entitled

to any of the relief they request or any relief whatsoever.

                                   AFFIRMATIVE DEFENSES

                                            First Defense

Plaintiffs’ claims are not ripe or prudentially ripe.

                                           Second Defense

Plaintiffs lack standing, including prudential standing, to bring their claims.

                                           Third Defense

The actions Plaintiffs challenge are unreviewable under the APA.



       WHEREFORE, having fully answered, Defendants pray that:

       1.      This Court enter judgment for Defendants and dismiss this action with prejudice;

       2.      Defendants be granted such further relief as the Court may deem just and proper.




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Dated: May 31, 2025                        Respectfully submitted,
                                                  Respectfully submitted,

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                                                  Civil Division, Federal Programs Branch

                                                  LESLEY FARBY
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                                                  /s/ Bridget K. O’Hickey
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                                                  Attorneys for Defendants




                                     CERTIFICATE OF SERVICE

        I, Bridget O’Hickey, hereby certify that I served a true copy of the above document upon

all counsel of record via this court’s electronic filing system and upon any non-registered

participants via first class mail.


Dated: May 31, 2025                                  /s/ Bridget K. O’Hickey
                                                     BRIDGET K. O’HICKEY
                                                     Counsel to the Assistant Attorney General




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